       Case 1:21-cr-00725-MAU Document 121 Filed 07/05/23 Page 1 of 4




                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
v.                                           : Case: 21-cr-725-1 (RDM)
                                             :
JARED SAMUEL KASTNER                         :
                                             :
Defendant.                                   :


  DEFENDANT KASTNER’S MOTION IN LIMINE TO PRECLUDE ALL
DISCUSSION OF SIGNS, BARRICADES OR ANNOUNCEMENT NOT SEEN
 BY KASTNER as well as ALL DISCUSSION OF BAD ACTS, CRIMES OR
           GUILT BY PEOPLE OTHER THAN KASTNER
COMES NOW, the Defendant Jared Kastner, by and through his counsel of record
John Pierce, with this motion in limine to preclude from trial any evidence,
discussion, or argument regarding signs, fencing, dispersal announcements,
barricades or other barriers unless the offering party first lays a foundation that
Kastner actually was in a place to clearly and obviously witness such features.
      Kastner also requests an order precluding the prosecution from offering any
evidence, testimony or discussion that others may have committed bad acts or
crimes as a way to impose guilt on Kastner by association.
Background.
      Kastner is charged with several criminal offenses which require the United

States to prove that Kastner knew he was in an unauthorized area or areas. At trial,

Kastner will contest these assertions. Kastner freely walked via an open doorway
       Case 1:21-cr-00725-MAU Document 121 Filed 07/05/23 Page 2 of 4




into the U.S. Capitol on January 6 at a time when there were no signs, warnings,

announcements, or police officer resistance.

      Under Rules 401 and 403, the government must be precluded from

introducing evidence, discussion, or argument of any signs, plaques, notices, “No

Trespassing” markings, dispersal announcements, barriers, fences or barricades

which Kastner could not have seen or heard himself at his location(s).

The government must not use guilt by association to try to convict Kastner.

Observing disorderly conduct by others is not disorderly conduct. Observing

picketing or parading by others is not picketing or parading by Kastner. Kastner is

entitled to a trial in which the government must meet a burden of showing Kastner

himself committed disorderly conduct, picketed and paraded, or entered knowingly

without authorization.

      Under Rules 401 and 403, Kastner seeks an order precluding prosecutors or

prosecution witnesses from arguing or suggesting Kastner is guilty of any crime(s)

due to the criminal conduct of others. Such evidence or argument is irrelevant,

confusing, and misleading.

 Date: July 05, 2023                           Respectfully Submitted,
                                                 /s/ John M. Pierce
                                                John M. Pierce
                                                21550 Oxnard
                                                Street 3rd Floor,
Case 1:21-cr-00725-MAU Document 121 Filed 07/05/23 Page 3 of 4




                                     PMB #172
                                     Woodland Hills, CA
                                     91367 Tel: (213) 400-
                                     0725
                                     Email:jpierce@johnpiercelaw.com
                                     Attorney for Defendant
        Case 1:21-cr-00725-MAU Document 121 Filed 07/05/23 Page 4 of 4




CERTIFICATE OF SERVICE
I hereby certify that on July 5, 2023, I uploaded this document to the Court’s ECF
system, serving all parties of record.
/s/ John Pierce.
